Case 2:93-cv-00902-RBS Document 684-1 Filed 05/09/23 Page 1 of 3 PageID# 6512




May 5, 2023

Mr. David Concannon
Explorer Consulting
100 Sun Valley Road, Box 329
Sun Valley, ID 83353
E-mail: david@davidconcannon.com

Dear Mr. Concannon:

The National Oceanic and Atmospheric Administration (NOAA) has reviewed the
information you provided via letter to the U.S. District Court for the Eastern District of
Virginia and to NOAA on behalf of OceanGate Expeditions, Ltd. (“OceanGate”), as well as
information available on OceanGate’s website regarding its proposed 2023 Titanic Survey
Expedition. See Letter from David Concannon, Legal and Operational Advisor to OceanGate,
to the Honorable Rebecca B. Smith, U.S. District Court for the Eastern District of Virginia
(April 20, 2023) (“April 20, 2023, Letter to the Court”).

Based on this information and our understanding that the proposed 2023 Survey Expedition will
be carried out in a manner consistent with OceanGate’s 2021 and 2022 Titanic Expeditions,
NOAA concludes that no authorization pursuant to section 113 of the Consolidated
Appropriations Act, 2017, Public Law 115-31, 131 Stat. 135, 192 (2017), is required for this
proposed 2023 expedition. Section 113 prohibits any person from conducting “… research,
exploration, salvage, or other activities that would physically alter or disturb the wreck or wreck
site of the R.M.S. Titanic, unless authorized by the Secretary of Commerce per the provisions of
the [International Agreement].”

You stated in your April 20, 2023, Letter to the Court that OceanGate plans to conduct a series
of eight-day “missions” to survey Titanic and the wreck site from early May until the end of
June 2023. OceanGate’s website indicates that the 2023 expedition will consist of five such
missions. Each mission will include deployment of OceanGate’s five-person deep sea
submersible, Titan. You stated in your letter that “[n]o salvage or retrieval of artifacts, coal or
rusticles will be collected” during the proposed 2023 expedition and that “[a]ll of the operations
planned for the Titanic site will be ‘look but don’t touch.’” And you described characteristics of
Titan and operational details to support this statement, including that Titan does not have
manipulator arms or other means of retrieving artifacts from the sea floor and that Titan will
always approach Titanic from a down-current position to reduce the submersible’s speed and
increase its navigability when near and over the wreck and wreck site. (April 20, 2023, Letter to
the Court).

As outlined in the April 20, 2023, Letter to the Court, NOAA understands that OceanGate will
be conducting a series of non-intrusive, human-occupied submersible dives at the Titanic to
Case 2:93-cv-00902-RBS Document 684-1 Filed 05/09/23 Page 2 of 3 PageID# 6513




conduct citizen exploration as OceanGate has done for the past two summers. The science
objectives for the missions are to:

   •   Supplement the work done on previous scientific expeditions to capture data and
       images for the continued scientific study of the ecology and archaeology of the site;
   •   Document the condition of the wreck with high-definition photographs and video; and
   •   Document and characterize the flora and fauna inhabiting the wreck site for comparison
       with data collected on prior scientific expeditions to better assess changes in the habitat
       and maritime heritage site.

Your letter further indicates that the proposed 2023 expedition is part of a multi-year project of
continued observation to fully document and characterize the wreck and surrounding debris
field, monitor changes to the structures and the natural site, and describe the ecology of the
site. The stated intent of this project is to collect images, video, sonar data, and water samples
to provide an objective basis for meaningful assessment of the decay of the wreck over time
and to help document and preserve its submerged history. (April 20, 2023, Letter to the Court).

NOAA understands that OceanGate will conduct its proposed 2023 expedition in a manner that
is consistent with the Titanic International Agreement, Section 113, the 1986 R.M.S. Titanic
Maritime Memorial Act, the Guidelines for Research, Exploration, and Salvage of R.M.S.
Titanic (66 Fed. Reg. 18905, Apr. 12, 2001), International Maritime Organization (IMO)
Circular MEPC.1/Circ.799 (31 January 2012), and applicable orders of the U.S. District Court
for the Eastern District of Virginia.

Based on the foregoing, NOAA understands that, as in previous years, OceanGate and any
agent or contractor for the proposed 2023 expedition will:
   • Not discharge garbage, blackwater, graywater, and any other discharges incidental to
       the operation of OceanGate’s expedition vessel within 15 nautical miles of the wreck
       site;
   • Avoid any activities that would physically alter or disturb the wreck or wreck site
       (including the seabed), including any contact with or landing on Titanic;
   • Not install, attach, or place any plaques, memorials, or other temporary or permanent
       fixtures on Titanic;
   • Not enter, or attempt to enter, with a submersible, ROV, or other devices, sensors, or
       probes either of the hull pieces;
   • Maintain the submersible and its subsystems (i.e., weights, drop weights, skids,
       appendage) as well as any ROV a sufficient distance from the wreck so as to avoid
       coming into contact with it on all dives or attempted dives in either normal or emergency
       operation modes and procedures; and
   • Not drop or deposit intentionally or unintentionally any weights or equipment such that
       they would land on or near the wreck. In all cases, weight or items dropped will be done
       in accordance with International Maritime Organization Circular MEPC.1/Circ.779 (31
       January 2012).
Case 2:93-cv-00902-RBS Document 684-1 Filed 05/09/23 Page 3 of 3 PageID# 6514




NOAA appreciates OceanGate’s intent to share information, as expressed in your April 20,
2023, letter, and would appreciate receiving a copy of any expedition report that OceanGate
submits to the U.S. District Court for the Eastern District of Virginia.

If you have any questions, please do not hesitate to contact Mitchell Tartt, Chief, Science &
Heritage Division, Office of National Marine Sanctuaries (mitchell.tartt@noaa.gov). Thank
you for your continued cooperation with NOAA.

                                             Sincerely,



                                             Richard W. Spinrad, Ph.D.
                                             Under Secretary of Commerce for Oceans and
                                                Atmosphere & NOAA Administrator
